                       Case 22-13788-abl                      Doc 35       Entered 01/27/23 21:34:12                       Page 1 of 6
                                                               United States Bankruptcy Court
                                                                     District of Nevada
In re:                                                                                                                 Case No. 22-13788-abl
JOHN FORREST BEAN                                                                                                      Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0978-2                                                  User: admin                                                                 Page 1 of 4
Date Rcvd: Jan 25, 2023                                               Form ID: 318                                                              Total Noticed: 76
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 27, 2023:
Recip ID                   Recipient Name and Address
db                     +   JOHN FORREST BEAN, 595 S. GREEN VALLEY PKWY #2214, HENDERSON, NV 89012-2983
r                      +   DEBORAH L. PRIEBE, SHORT SALE SUCCESS, 170 S. GREEN VALLEY PKWY #200, HENDERSON, NV 89012-3154
11814679               +   Admar Supply and it's Affiliates, 1950 Brighton Henrietta T/L Rd, Rochester, NY 14623-2543
11814681               +   Armor Building Supply, 1702 Constitution Ave, Olean, NY 14760-1880
11814691                   Community Bank, N.A., 500 Delaware Ave, Olean, NY 14760
11814692               +   Conserve, PO Box 307, Fairport, NY 14450-0307
11814697               +   Devin Bean, 203 Luninborg, Henderson, NV 89074-8718
11814699               +   EAN Services LLC, PO Box 402345, Atlanta, GA 30384-2345
11814700               +   Edc/windermere Anthem, Acct No 694Y3918303656587499555, 12231 S Eastern Ave Ste, Henderson, NV 89052-4414
11814701               +   Enterprise Holdings, LLC, PO Box 402345, Atlanta, GA 30384-2345
11814702               +   Enterprse Rent A Car, PO Box 402345, Atlanta, GA 30384-2345
11814703               +   Equipment and Tool Rentals, 1801 Union Rd, Buffalo, NY 14224-2019
11814705                   Fnb Of Port Allegany, Acct No 6636, 64a Main Street, Port Allegany, PA 16743
11814704                   Fnb Of Port Allegany, Acct No 6687, 64a Main Street, Port Allegany, PA 16743
11814706               +   Genesis Credit Management, Acct No PRS0GS10110004062190, Attn: Bankruptcy, Po Box 3630, Everett, WA 98213-8630
11814710               +   Great Lakes Concrete Products, LLC, 5690 Camp Road, Hamburg, NY 14075-3706
11814719               +   Hamlin Bank & Trust Co, Acct No 40002406, Attn: Bankruptcy, 333 West Main St, Smethport, PA 16749-1139
11814717               +   Hamlin Bank & Trust Co, Acct No 40002595, Attn: Bankruptcy, 333 West Main St, Smethport, PA 16749-1139
11814711               +   Hamlin Bank & Trust Co, Acct No 40002673, Attn: Bankruptcy, 333 West Main St, Smethport, PA 16749-1139
11814714               +   Hamlin Bank & Trust Co, Acct No 40002952, Attn: Bankruptcy, 333 West Main St, Smethport, PA 16749-1139
11814716               +   Hamlin Bank & Trust Co, Acct No 40031735, Attn: Bankruptcy, 333 West Main St, Smethport, PA 16749-1139
11814720               +   Hamlin Bank & Trust Co, Acct No 40031749, Attn: Bankruptcy, 333 West Main St, Smethport, PA 16749-1139
11814712               +   Hamlin Bank & Trust Co, Acct No 40032467, Attn: Bankruptcy, 333 West Main St, Smethport, PA 16749-1139
11814715               +   Hamlin Bank & Trust Co, Acct No 40034611, Attn: Bankruptcy, 333 West Main St, Smethport, PA 16749-1139
11814713               +   Hamlin Bank & Trust Co, Acct No 409618, Attn: Bankruptcy, 333 West Main St, Smethport, PA 16749-1139
11814718               +   Hamlin Bank & Trust Co, Acct No 409716, Attn: Bankruptcy, 333 West Main St, Smethport, PA 16749-1139
11814722                   Henderson Hospital, PO Box 31001-0827, Pasadena, CA 91110-0827
11858530               +   Horizon Ridge Apartments, 595 S. Green Valley Pkwy, Henderson, NV 89012-2977
11814725               +   Juniat Vl Bk, Acct No 70000000000006687, 2 S Main, Mifflintown, PA 17059-1313
11838552               +   LVAC, 2655 S Maryland Pkwy, Las Vegas, NV 89109-1645
11814729               +   Las Vegas Justice Court, Attention: Traffic, 200 Lewis Ave, 2nd Floor, Las Vegas, NV 89155-0001
11858812               +   Northwest Bank, PO Box 337, Warren, PA 16365-0337
11814735               +   OLean Union Salses Corp, Po Box 361, Olean, NY 14760-0361
11814737               +   Phillip Dwyer, 12231 S. Eastern #150, Henderson, NV 89052-4417

TOTAL: 34

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: BNCnotices@bdfgroup.com
                                                                                        Jan 26 2023 00:09:00      ERIK C SEVERINO, LAW OFFICE OF ERIK
                                                                                                                  SEVERINO, 7251 W. LAKE MEAD BLVD., STE
                                                                                                                  300, LAS VEGAS, NV 89128
tr                     + EDI: FLESCHWARTZER.COM
                                                                                        Jan 26 2023 05:14:00      LENARD E. SCHWARTZER, 2850 S. JONES
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Date Rcvd: Jan 25, 2023                                       Form ID: 318                                                     Total Noticed: 76
                                                                                                    BLVD., #1, LAS VEGAS, NV 89146-5640
ust              + Email/Text: USTPRegion17.LV.ECF@usdoj.gov
                                                                             Jan 26 2023 00:09:00   U.S. TRUSTEE - LV - 7, 300 LAS VEGAS
                                                                                                    BOULEVARD, SO., SUITE 4300, LAS VEGAS,
                                                                                                    NV 89101-5803
11814680         + Email/Text: bncnotifications@pheaa.org
                                                                             Jan 26 2023 00:09:00   AES/Pennsylvania Higher Education Assist, Acct
                                                                                                    No 9724193833PA00004, Attn: Bankruptcy, Po
                                                                                                    Box 2461, Harrisburg, PA 17105-2461
11862740           Email/PDF: resurgentbknotifications@resurgent.com
                                                                             Jan 26 2023 00:20:27   Ashley Funding Services, LLC, Resurgent Capital
                                                                                                    Services, PO Box 10587, Greenville, SC
                                                                                                    29603-0587
11814682         + EDI: TSYS2
                                                                             Jan 26 2023 05:14:00   Barclays Bank Delaware, Acct No
                                                                                                    000210344416440, Attn: Bankruptcy, Po Box
                                                                                                    8801, Wilmington, DE 19899-8801
11814687           Email/Text: CAF_Bankruptcy_Department@carmax.com
                                                                             Jan 26 2023 00:09:00   Carmax, PO Box 440609, Kennesaw, GA 30160
11814689         + EDI: CKSFINANCIAL.COM
                                                                             Jan 26 2023 05:14:00   CKS Financial, Acct No 1088545, Attn:
                                                                                                    Bankruptcy, Po Box 2856, Chesapeake, VA
                                                                                                    23327-2856
11814685         + EDI: CAPITALONE.COM
                                                                             Jan 26 2023 05:14:00   Capital One, Acct No 480213953328, Attn:
                                                                                                    Bankruptcy, P.O. Box 30285, Salt Lake City, UT
                                                                                                    84130-0285
11814684         + EDI: CAPITALONE.COM
                                                                             Jan 26 2023 05:14:00   Capital One, Acct No 5178059310977674, Attn:
                                                                                                    Bankruptcy, P.O. Box 30285, Salt Lake City, UT
                                                                                                    84130-0285
11814683         + EDI: CAPITALONE.COM
                                                                             Jan 26 2023 05:14:00   Capital One, Acct No 5178059986951532, Attn:
                                                                                                    Bankruptcy, P.O. Box 30285, Salt Lake City, UT
                                                                                                    84130-0285
11837353           EDI: CAPITALONE.COM
                                                                             Jan 26 2023 05:14:00   Capital One N.A., by American InfoSource as
                                                                                                    agent, PO Box 71083, Charlotte, NC 28272-1083
11814686         + EDI: CAPITALONE.COM
                                                                             Jan 26 2023 05:14:00   Capital One NA, Acct No 5200940106527223,
                                                                                                    Attn: Bankruptcy, Po Box 30285, Salt Lake City,
                                                                                                    UT 84130-0285
11814688         + EDI: CITICORP.COM
                                                                             Jan 26 2023 05:14:00   Citibank/The Home Depot, Acct No
                                                                                                    6035320379670951, Citicorp Credit
                                                                                                    Srvs/Centralized Bk dept, Po Box 790034, St
                                                                                                    Louis, MO 63179-0034
11814690         + EDI: WFNNB.COM
                                                                             Jan 26 2023 05:14:00   Comenity Bank/Jared, Acct No 3138761396, Attn:
                                                                                                    Bankruptcy, Po Box 182125, Columbus, OH
                                                                                                    43218-2125
11814693         ^ MEBN
                                                                             Jan 26 2023 00:06:51   Cox Communications, 6205-B Peachtree
                                                                                                    Dunwoody Road, Atlanta, GA 30328-4524
11814694         + EDI: CCS.COM
                                                                             Jan 26 2023 05:14:00   Credit Collection Services, Acct No 78567284,
                                                                                                    Attn: Bankruptcy, 725 Canton St, Norwood, MA
                                                                                                    02062-2679
11814695         + Email/PDF: creditonebknotifications@resurgent.com
                                                                             Jan 26 2023 00:20:22   Credit One Bank, Acct No 4447962642620243,
                                                                                                    Attn: Bankruptcy Department, Po Box 98873, Las
                                                                                                    Vegas, NV 89193-8873
11814696         + Email/Text: nys.dtf.bncnotice@tax.ny.gov
                                                                             Jan 26 2023 00:09:00   Department of Taxation and Finance, Civil
                                                                                                    Enforecement Division, W.A. Harriman Campus,
                                                                                                    Albany, NY 12227-0001
11814698         + Email/Text: compliance@dontbebroke.com
                                                                             Jan 26 2023 00:09:00   Dollar Loan Center, Acct No 2361480, Attn:
                                                                                                    Bankruptcy, 8860 West Sunset Road, Las Vegas,
                                                                                                    NV 89148-4898
11831812         + Email/Text: compliance@dontbebroke.com
                                                                             Jan 26 2023 00:09:00   Dollar loan Center, 2654 W Horizon Ridge Pkwy
                                                                                                    Ste B-3, Henderson, NV 89052-2863
11814707         + EDI: PHINGENESIS
                                                                             Jan 26 2023 05:14:00   Genesis Credit/Celtic Bank, Acct No
                                                                                                    5100043001450822, Attn: Bankruptcy, Po Box
                                                                                                    4477, Beaverton, OR 97076-4401
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11814709         + EDI: PHINGENESIS
                                                                             Jan 26 2023 05:14:00   Genesis FS Card Services, Acct No
                                                                                                    5410514112675304, Attn: Bankruptcy, Po Box
                                                                                                    4477, Beaverton, OR 97076-4401
11814708         + EDI: PHINGENESIS
                                                                             Jan 26 2023 05:14:00   Genesis Financial/Jared, Acct No
                                                                                                    7637000024008050, Genesis FS Card Services, Po
                                                                                                    Box 4477, Beaverton, OR 97076-4401
11814721           EDI: PHINHARRIS
                                                                             Jan 26 2023 05:14:00   Harris & Harris, LTD, 111 West Jackson Blvd.,
                                                                                                    Suite 400, Chicago, IL 60604-4135
11814723         + EDI: AGFINANCE.COM
                                                                             Jan 26 2023 05:14:00   Household Finance Co/OneMain Financial, Acct
                                                                                                    No 2195133053416751, Attn: Bankruptcy, Po Box
                                                                                                    3251, Evansville, IN 47731-3251
11814724           EDI: IRS.COM
                                                                             Jan 26 2023 05:14:00   IRS, Central Insolvency Operation, PO Box 7346,
                                                                                                    Philadelphia, PA 19101-7346
11814726         + Email/Text: key_bankruptcy_ebnc@keybank.com
                                                                             Jan 26 2023 00:09:00   Key Bank, 450 N. Union St, Olean, NY
                                                                                                    14760-2657
11814727           Email/Text: govtaudits@labcorp.com
                                                                             Jan 26 2023 00:09:00   Laboratory Corporation of America Holdin, PO
                                                                                                    Box 2240, Burlington, NC 27216-2240
11833756           Email/PDF: resurgentbknotifications@resurgent.com
                                                                             Jan 26 2023 00:20:22   LVNV Funding, LLC, Resurgent Capital Services,
                                                                                                    PO Box 10587, Greenville, SC 29603-0587
11814730         + Email/Text: MDSBankruptcies@meddatsys.com
                                                                             Jan 26 2023 00:09:00   Medical Data Systems (MDS), Acct No
                                                                                                    8007484283, 2001 9th Avenue, Suite 312, Vero
                                                                                                    Beach, FL 32960-6413
11814731         + Email/Text: MDSBankruptcies@meddatsys.com
                                                                             Jan 26 2023 00:09:00   Medical Data Systems (MDS), Acct No
                                                                                                    8007484275, 2001 9th Avenue, Suite 312, Vero
                                                                                                    Beach, FL 32960-6413
11839631           Email/Text: nys.dtf.bncnotice@tax.ny.gov
                                                                             Jan 26 2023 00:09:00   New York Statae Department of Taxation &
                                                                                                    Finance, Bankruptcy Section, P O Box 5300,
                                                                                                    Albany, NY 12205-0300
11814733         + Email/Text: angela.abreu@northwest.com
                                                                             Jan 26 2023 00:09:00   Northwest Bank, Acct No 3105026920, Attn:
                                                                                                    Bankruptcy, Po Box 128, Warren, PA 16365-0128
11814732         + Email/Text: angela.abreu@northwest.com
                                                                             Jan 26 2023 00:09:00   Northwest Bank, Acct No 3105026367, Attn:
                                                                                                    Bankruptcy, Po Box 128, Warren, PA 16365-0128
11814734         + Email/Text: collections@oleanfcu.com
                                                                             Jan 26 2023 00:09:00   Olean Area Fed Cr Un, Acct No 20000058020001,
                                                                                                    1201 Wayne St, Olean, NY 14760-2271
11814736         + Email/Text: consumerhelpdesk@omega-rms.com
                                                                             Jan 26 2023 00:09:00   Omega RMS, llc., Acct No 701624, Attn:
                                                                                                    Bankrutpcy, 7505 Nw Tiffany Springs Pky, Ste
                                                                                                    500, Kansas City, MO 64153-1313
11840112           EDI: Q3G.COM
                                                                             Jan 26 2023 05:14:00   Quantum3 Group LLC as agent for, CKS Prime
                                                                                                    Investments LLC, PO Box 788, Kirkland, WA
                                                                                                    98083-0788
11814738           Email/Text: bankruptcy@self.inc
                                                                             Jan 26 2023 00:09:00   Selfinc/lead, Acct No 10325324, Attn:
                                                                                                    Bankruptcy, 515 Congress Avenue #2200, Austin,
                                                                                                    TX 78701
11814739         + Email/Text: bknotices@suncommunities.com
                                                                             Jan 26 2023 00:09:00   Sky Harbor, 4925 Genesee St, Buffalo, NY
                                                                                                    14225-2411
11814741         + EDI: RMSC.COM
                                                                             Jan 26 2023 05:14:00   Synchrony Car Care, Acct No 6501591205584781,
                                                                                                    Attn: Bankruptcy, Po Box 965064, Orlando, FL
                                                                                                    32896-5064
11814740         + EDI: RMSC.COM
                                                                             Jan 26 2023 05:14:00   Synchrony Car Care, Acct No 6501591239918138,
                                                                                                    Attn: Bankruptcy, Po Box 965064, Orlando, FL
                                                                                                    32896-5064

TOTAL: 42
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                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
aty             *+            LENARD E. SCHWARTZER, 2850 S. JONES BLVD., #1, LAS VEGAS, NV 89146-5640
11814728        *P++          LABORATORY CORPORATION OF AMERICA, ATTN GOVERNMENT AUDITS, PO BOX 2270, BURLINGTON NC
                              27216-2270, address filed with court:, Laboratory Corporation of America Holdin, PO Box 2240, Burlington, NC 27216-2240

TOTAL: 0 Undeliverable, 2 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 27, 2023                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 25, 2023 at the address(es) listed
below:
Name                             Email Address
ERIK C SEVERINO
                                 on behalf of Debtor JOHN FORREST BEAN erik@mylasvegaslawyers.com
                                 gus@mylasvegaslawyers.com;scott@mylasvegaslawyers.com;severinoer90555@notify.bestcase.com

LENARD E. SCHWARTZER
                                 on behalf of Realtor DEBORAH L. PRIEBE trustee@sailawfirm.com
                                 lbenson@sailawfirm.com;jelliott@sailawfirm.com;nv17@ecfcbis.com;clea11@trustesolutions.net;les@trustesolutions.net

LENARD E. SCHWARTZER
                                 trustee@sailawfirm.com
                                 lbenson@sailawfirm.com;jelliott@sailawfirm.com;nv17@ecfcbis.com;clea11@trustesolutions.net;les@trustesolutions.net

U.S. TRUSTEE - LV - 7
                                 USTPRegion17.LV.ECF@usdoj.gov


TOTAL: 4
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Information to identify the case:
Debtor 1
                       JOHN FORREST BEAN                                           Social Security number or ITIN   xxx−xx−6320
                                                                                   EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2                                                                           Social Security number or ITIN _ _ _ _
                       First Name     Middle Name     Last Name
(Spouse, if filing)                                                                EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court       District of Nevada

Case number:          22−13788−abl

Order of Discharge                                                                                                                12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

             JOHN FORREST BEAN


             1/25/23                                                       By the court: AUGUST B. LANDIS
                                                                                         United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                            This order does not prevent debtors from paying
and it does not determine how much money, if                              any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                      debts according to the reaffirmation agreement.
                                                                          11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                 Most debts are discharged
attempt to collect a discharged debt from the                             Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                           personal liability for debts owed before the
or otherwise try to collect from the debtors                              debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                          Also, if this case began under a different chapter
in any attempt to collect the debt personally.                            of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                          to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                               are discharged.

However, a creditor with a lien may enforce a                             In a case involving community property: Special
claim against the debtors' property subject to that                       rules protect certain community property owned
lien unless the lien was avoided or eliminated.                           by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                             not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                       For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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